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 1                                 UNITED STATES DISTRICT COURT
 2
                                 EASTERN DISTRICT OF CALIFORNIA
 3

 4    GERALD CARLIN, JOHN RAHM, PAUL
      ROZWADOWSKI and DIANA WOLFE,                          Case No. 1:09-cv-00430-AWI (EPG)
 5    individually and on behalf of themselves and all
      others similarly situated,
 6                                                          CLASS ACTION
                                       Plaintiffs,
      v.
 7                                                          ORDER GRANTING PLAINTIFFS’
                                                            REQUEST TO SEAL DOCUMENT AND
 8    DAIRYAMERICA, INC., and CALIFORNIA                    FILE REDACTED VERSION
      DAIRIES, INC.
 9                             Defendants

10

11                                                   ORDER

12           This matter comes before the Court on the Plaintiffs’ Request to Seal Document and File

13    Redacted Version (“Request”) pursuant to Civil Local Rules 140 and 141.

14           Upon consideration of the Request, the papers submitted in support thereto, and good

15    cause appearing, the Request is GRANTED.

16           Accordingly, Plaintiffs are permitted to file a redacted version of Plaintiffs’ Fourth

17    Amended Class Action Complaint on the public docket, and Plaintiffs will email the unredacted

18    version of the document to ApprovedSealed@caed.uscourts.gov for filing under seal. Only the

19    parties’ counsel of record, the Court and its staff shall have access to the unredacted document.

20
      IT IS SO ORDERED.
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22       Dated:     November 15, 2017                             /s/
                                                          UNITED STATES MAGISTRATE JUDGE
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